        Case
         Case2:13-cr-00018-JCM-GWF  Document 454-1
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 1                           UNITED STATES DISTRICT COURT
 2
                                    DISTRICT OF NEVADA
 3                                          ***

 4   UNITED STATES OF AMERICA,        )
                                      )
 5
                     Plaintiff,       )             CR-13-cr-00018-JCM-GWF
 6                                    )
     v.                               )             PROTECTIVE ORDER
 7                                    )
     LEON BENZER,                     )
 8                                    )
 9                   Defendants.      )
     ________________________________)
10
11         IT IS HEREBY ORDERED:
12
           That the following Attorneys will be counsel of record in the above entitled case,
13
     which will commence February 23,
                                  25 2015. This case will last approximately three
                                                                              one
14
          . Please excuse them from all court appearances during this trial period.
     months.
15
16         Chris T. Rasmussen                Mike Sanft

17         D. Loren Washburn                 Rodney G. Snow
18         Max E. Corrick                    Brett Whipple
19
20
                  February
           DATED this      24, 2015.
                      _____day  of January, 2015.
21
22
23
24                                                  _____________________________
                                                    UNITED STATES
                                                    DISTRICT COURTDISTRICT
                                                                    JUDGE JUDGE
25
26
27
28
